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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


STATE OF TEXAS,
               Plaintiff,

v.

XAVIER BECERRA, Secretary of the United States
Department of Health and Human Services, in
his official capacity; UNITED STATES
DEPARTMENT OF HEALTH AND HUMAN
SERVICES; JEFF HILD, Principal Deputy Assistant      CIVIL ACTION NO. 6:24-CV-348-JDK
Secretary for the Administration for Children
and Families; ADMINISTRATION FOR CHILDREN
AND FAMILIES; REBECCA JONES GASTON,
Commissioner of the Administration on
Children, Youth and Families, and Acting
Associate Commissioner of the Children’s
Bureau, in her official capacity;
ADMINISTRATION ON CHILDREN, YOUTH AND
FAMILIES; CHILDREN’S BUREAU; and the
UNITED STATES OF AMERICA,
               Defendants.




                 JOINT NOTICE OF PARTIES REGARDING HEARING



       Plaintiff the State of Texas and the Federal Defendants jointly inform the Court of their

plan for the in-person hearing set for 10:00 a.m. on January 16, 2025. The parties will not call any

witnesses or introduce any exhibits not already part of the record from the briefing on Plaintiff’s

Stay Motion.
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Dated: January 14, 2025                          Respectfully submitted,

KEN PAXTON                                       /s/Ryan D. Walters
Attorney General of Texas                        RYAN D. WALTERS
                                                 Chief, Special Litigation Division
BRENT WEBSTER                                    Texas State Bar No. 24105085
First Assistant Attorney General                 ryan.walters@oag.texas.gov
RALPH MOLINA                                     KATHLEEN T. HUNKER
Deputy First Assistant Attorney General          Special Counsel
                                                 Texas State Bar No. 24118415
AUSTIN KINGHORN                                  kathleen.hunker@oag.texas.gov
Deputy Attorney General for Legal Strategy
                                                 GARRETT GREENE
OFFICE OF THE TEXAS ATTORNEY GENERAL             Special Counsel
Special Litigation Division                      Texas State Bar No. 24096217
P.O. Box 12548, Capitol Station                  garrett.greene@oag.texas.gov
Austin, Texas 78711-2548
Telephone: 512-463-2100                          ZACHARY L. RHINES
Fax: 512-457-4410                                Special Counsel
                                                 Texas State Bar No. 24116957
                                                 zachary.rhines@oag.texas.gov

                                                 KYLE S. TEBO
                                                 Special Counsel
                                                 Texas State Bar No. 24137691
                                                 kyle.tebo@oag.texas.gov
                                                 COUNSEL FOR STATE OF TEXAS




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                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     MICHELLE R. BENNETT
                                                     Assistant Director, Federal Programs Branch

                                                     /s/ Zachary W. Sherwood
                                                     ZACHARY W. SHERWOOD
                                                     (IN Bar No. 37147-49)
                                                     Trial Attorney
                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L Street, NW
                                                     Washington, DC 20005
                                                     Phone: (202) 616-8467
                                                     Fax: (202) 616-8470
                                                     Email: zachary.w.sherwood@usdoj.gov

                                                     Attorney for Defendants


                                   CERTIFICATE OF SERVICE
      I hereby certify that on January 14, 2025, a true and correct copy of the above and foregoing
document was filed electronically (via CM/ECF) and served on all counsel of record.

                                                     /S/ Ryan D. Walters
                                                     RYAN D. WALTERS




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